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     Attorney for Defendant,
 7   ATTILA RAVASZ
 8
                               UNITED STATES DISTRICT COURT
 9
                            CENTRAL DISTRICT OF CALIFORNIA
10
                                      WESTERN DIVISION
11
12
                                                        Case No: 2:22-CR-240-FMO-2
13
      UNITED STATES OF AMERICA
14                                                      CHARACTER LETTERS
                                Plaintiff,
15                                                      DATE: FEBRUARY 9, 2023
      v.
16                                                      TIME: 8:30 A.M.
      BOAR, ET AL. (RAVASZ),                            COURT: 6D
17
                                Defendants.
18                                                      Before the Hon. Fernando M. Olguin
19
20
21
22
     To The Honorable Fernando M. Olguin, United States District Judge; United
23
     States Attorney E. Martin Estrada; Assistant United States Attorney Andrew
24
     Brown; and/or representatives:
25
           Pursuant to the Order of The Court dated February 6, 2023 [Dkt. 176], attached
26
     for consideration at sentencing are two character letters.
27
28


                                                    1
                                             CHARACTER LETTERS
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 1   Respectfully Submitted,
 2
 3   Date: February 6, 2023
 4
                                        LAW OFFICE OF IAN WALLACH, PC
 5
 6                               By      /s/ Ian Wallach
 7                                      IAN WALLACH
                                        Attorney for Defendant,
 8                                      Attila Ravasz
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                                      CHARACTER LETTERS
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